                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FEDERAL TRADE COMMISSION et al.,

                      Plaintiffs,

                 v.                                       CIVIL ACTION

THOMAS JEFFERSON UNIVERSITY et                            NO. 20-01113
al.,
               Defendants.


                                      ORDER

      AND NOW, this 29th day of July 2020, upon consideration of Nonparty Kindred

Healthcare LLC’s Motion to Quash or Modify the Subpoena (ECF No. 106) and

Defendants Thomas Jefferson University and Albert Einstein Healthcare Network’s

Response (ECF No. 112), it is hereby ORDERED that the Motion is GRANTED in

part and DENIED in part.

      Defendants shall modify the first three requests of the subpoena to include

reasonable temporal limitations by Friday, July 31, 2020, and Kindred shall comply

with the six requests in the subpoena on or before Friday, August 7, 2020.



                                                     BY THE COURT:



                                                      /s/ Gerald J. Pappert
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                                                     GERALD J. PAPPERT, J.
